Case 2:14-cV-02600-STA-d|<v Document 7 Filed 09/02/14 W of 1 Page|D 19

RECE\\/ ED
IN THE UNITED STATES DISTRICT

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FoR THE WESTERN DISTRICT oF TENNESSEE 1\;\\\ SF.P 2 9
WESTERN DIvIsIoN … v

 

HERBERT BRENT,

Plaintiff,
Vs. Case No.: 14-2600
HYUNDAI CAPITAL AMERICA; Et. Al.

Defendants.

NOTICE OF VOLUNTARY DIMISSAL OF
DEFENDANT HYUNDAI MOTOR AMERICA FROM COMPLAINT

Comes Now, Herbert Brent, the above named Plaintiff and provide notice to the
court and all parties here that he voluntarily dismisses Defendant Motor America.
Therefore, Defendant Hyundai Motor America is no longer a party to the above

captioned case and is hereby voluntarily dismissed Without prejudice.

Resp§ly sub@

Herbert Brent , Plaintiff`

1649 Shadowlawn Boulevard
Memphis, Tennessee 3 8106-5417
(619) 318-2434

(901) 726-9871

CERTIFICATE OF SERVICE

   

This No ice is be` g serv d on all proper Defendants With service of process and is
hereby c sidere served o the date service is perfected on each Defendant

_,\

Herbert Brerit', Plaintii`f»

